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                               TINITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ALABAMA
                                     SOUTHERN DIVISION


SE PROPERTY HOLDINGS, LLC,
                Plaintiff"

                V.


LTNIFIED RECOVERY GROUP,LLC et al,                                 MISC. ACTION 14.8-KD-M
            Defendants.

                and

AMERICAN GENERAL LIFE INSURANCE CO..
                Gamishee.


        GARNISHEE AMERICAN GENERAL LIFE INSURANCE COMPANY'S
                   ANSWER TO WRIT OF'GARNISHMENT

Having received notice of a Writ of Garnishment on September 2,2}l4,Gamishee hereby files
this Answer in accordance with 28 U.S.C. $ 3205. This Answer is being prepared by:
       Name:            Kortney S. Farmer
       Title:           Counsel
       Address:         2919 AllenParkway, L3-20,Houston, Texas 77019
       Phone:           (713) 83r-s166

I.     DESCRIPTION OF GARNISHEE:                   Garnishee files this Answer as:

       D        A Corporation

                Name of Corporation:        American General Life Insurance Company
                Affiant's Official Title:   Counsel
                Address:                    2919 Allen Parkway, L3-20, Houston, Texas 77019
                Phone Number:               (713) 831-s166
                State of Incorporation: Texas
                Principal Place of Business: Houston

2,    PRIOR GARNISHMENTS:

      For each previous garnishment involving the Defendant which is still in effect, please
      provide the following information: None




                                                                                                 1   of4
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   3.      DESCRIPTION OF PROPERTY IN WHICH THE DEF'ENDANT HAS AN INTEREST:

           Garnishee states as follows:

           D        Garnishee has possession, custody or control of the following property in which
                    Defendant has an interest:

Name                         Company          Policy/Account         Address                Current Value /
                                              Number                                        Termination
                                                                                            Date
Jeff S. Green                American         MN033189               P.O. Box i56,          $10,000.49
                             GeneralLife      (annuity with          Summerdale, AL
                             Insurance        Western National       36580-0 l 56
                             Company          Life Insurance
                             ("AGL")          Co., n.k.a. AGL)
Jeff S. Green (insured)      AGL              uM0050910L             Jeff S. Green          Face value   :
IED, Inc. (owner)                             (universal life        48095 Highway 16       $125,000.
                                              insurance policy)      Franklinton,LA 70438   Accumulation
                                                                                            value:   $4,275.86
                                                                     IED,Inc.
                                                                     P.O. Box 1886
                                                                     Foley, AL36536
Cecile G. Green             AGL               MM0288849 (life        Jeff S. Green          Surrendered or
(insured)                                     insurance policy)      9175 Deauville Rd.     lapsed with no
Jeff S. Green (owner)                                                Elberta,   AL 36530-   value on   lIl4/13.
                                                                     5056
J,S. Lawrence Green;                          For all of these
Memory Carnes Green;                          listed to the left,
International                                 we searched our
Equipment                                     records, but
Distributors, Inc.;                           found no account
Unified Recovery                              with American
Group, LLC; Green &                           General.
Sons II, LLC;
Catahoula Trading Co.,
LLC

  4.      CERTIFICATE OF SERVICE

          Garnishee certifies that       it has served   a copy   of this Answer on:

          D        Charles R. Diard, Jr., Clerk
                   United States District Court
                   1   13 St. Joseph Street
                   Mobile, AL36602


                             Date of Service: September 12,2014
                             Via UPS


                                                                                                             2of4
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tr    Maples & Fontenot, LLP (counsel for plaintiff)
      ATTN: Gilbert ooGus" Fontenot
      P.O. Box 1281
      Mobile" AL36633


              Date of Service: September 12,2014
              Via Certified Mail, Return Receipt Requested and e-mail

and

D     Jeff S. Green
      48095 HIGHWAY I6
      FRANKLINTON. LA 70438

              Date of   Service:   September 12,2014
             via certified Mail, Return Receipt
                                              Requested and regular mail


and

D     Jeff S. Green
      P.O. Box 156
      Summerdale, AL 36580-01 56

             Date of    Service:   September 12,2014
             via certified Mail, Return Receipt
                                              Requested and regular mail

and

tr    Jeff S. Green
      9175 Deauville Rd.
      Elberta, AL 36530-5056

             Date of Service: September 12,2014
             Via certified Mail, Return Receipt Requested and regular mail


and

n     IED, Inc.
      P.O. Box 1886
      Foley, AL36536

             Date of    Service:   September 12,2014
             via certified Mail, Return Receipt
                                              Requested and regular mail



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                                              OATH



Garnishee declares under penalty of perjury that the foregoing is true and correct.




                                        TSB No. 24032044




Subscribed and sworn before me this l2th day of Septemb er,20I4.




          DENISE Y MARTINEZ
         Notary Publiq   Stabof Texas
          Comrd'flimEqfils




                                                                                      4 of4
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                  *UIYDER SEAL, PER ENDORSED ORDER
                                                   7t3tt4 @oe.4)*

                     IN THE IJNTTED STATES DISTRICT COURT FOR TEE
                            SOUTHERN DISTRICI OF' ALABAMA
                                   SOUTHERN DTVISION

sE PROPERTY HOLDINGS,            LLC,                      )
        Plaintiff,                                         )
                                                           )
v.)                                                                         MISC. ACTION 14-8.KD-M
                                                           )
{JNIFIED RECOVERY GROUP, LLC, et.                at.,      )
       Defendants,                                         )
                                                           )
v.)
                                )
AMERICAN GENERAL LIFE INSURANCE )
CoMPANY,                        )
                                )
    Qglnishee.                  )

                                   WRIT OF GARNISBMENT
TO THE I.INITED STATES MARSHAL FOR THE SOUTHBRN DISTRICT OF ALABAMA, OR
TO ANY OTTIER AUTHORIZED OFFICER, GREETINGS:

       On or about Septe,rnber 27,2013,   a   jutlgment was re,ndered by the United States District Court

for the Middle Distriot of Louisiana in favor of Plaintiff and against Defendants lJnified Recovery

Group, LLC, IED, LLC,International Equipment Distibuton, Inc., Green and Sons II, LLC, Catahoula

Trading Company, LLC, Memory C. Greerg Cecile G. Green, JeffS. Green and J.S. Lawrence Green, in

said cause, which judgment was enrolled in this    Distict     on March 27 , 20L4 (D0c.1 ), for the   principal
judgurent sum   of   $23,626t,922.31, plus interest as         of November s,     ZOl.2,   in the   amount    of
$2,784,717.10; with post-judgment interest at    a rate   of 8%per aillum   on $16,666.85   ofthejudgmsnt, a

per diem of $3'65; and with post-judgment interest at arate       of 18% per annum on $23,610                 of
                                                                                                    ,255.46

thejudgme'nt ($23,626,922.31-$16,666.85), apei diem of$11,643.41. As of August ZZ,2114,thereis

additional accrued interest in the amount of $7,626,433.55 (655 4atr x $11,6 43.Ar)and $2,390.25 (65s




                                                                                                    g.Aib,+ A
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days   x   $3.65),    for a total of         accrued interest   in the amount of      $10,413,541.40
($2,784,717.10+$7,626,433.55+g2,390.7S).AsofAugustl2',z)l4,thetotalbalanceoutstandingonthe

judgment is $34,040, 463,7 I.

        The judgment has never been assigned to auyone by Ptaintiff, and you are hereby
                                                                                        commanded

forthwith to summon AMERICAN GENERAL LIFE TNSuRANCE COMPAT{Y,
                                                              c/o reg. agent

csc   Lawyers lncorporating sYC Inc., i 50 s. Perry st., Montgomery, AL 36104 (the .,Gamishee')
                                                                                                as

Gamishee in the above'styled cause to appear within thfuty (30) days from the
                                                                              date of service of this

process, before the United States District Court for the Southern Dishict
                                                                             of Alabama, at Mobilg
AJabam4 and file awritten answer, upon oath:

       (1) as to whether Garnishee is or was indebted to Defendants Unified Recovery
                                                                                     Group, LLC,

       IED,   Lrc,   International Equipment Disbibutors, Inc., Green and Sons II, LLC,
                                                                                        Catahoula

       Trading Company, LIC, Menory C. Greeq Cecile G. Green,Ieff S. Green and
                                                                               J.S. Lawrence

       Greenat the   tine you received this process, or when you    make your answer, or during the

       interveiring time, and in what sum or sums; or

       (2) whether Garnishee wiil be indebted to Defendants Unified Recovery
                                                                             Group, LLC, IED, LLC,

       Intsrnational F4uipment Distributors, Inc., Green and Sons       II, LLc,   Catahoula Trading

       Company, LLC, Memory C. Green, Cecile G. Greeq JeffS, Green and J.S. Lawrence
                                                                                     Green          in
       the future by existing contract; or

       (3) whether by existing contract you are liable to Defendants Unified
                                                                             Recovery Group, LLC,

       IED, LLC, Intemational Equipment Distributors, Inc., Green and Sons II, LLC, Catahoula

       Trading Company, LLC, Mernory C. Green, Cecile G. Green, Jeff S. Green and
                                                                                  J.S. Lawrence

       Green for the delivery of .Personal property or for the payment of money
                                                                                which may be
       dischmged by the delivery of Personal properly or which may be payable in personal
                                                                                          propert54 or
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       (4) whether you have       or not in your possession or under your   contol real or personal property or

       things in action belonging to.I)efendants Unified Recovery Group, LLC, IED, LLC, International

       Equipment Distributors, Inc., Green and Sons tr, LLQ, Catahoula Trading Company, LLC,

       Memory c. Green, cecile G. Green, Jeffs. Green and J.s. Lawrence Green.
 '      Mailing the notarized Answer to the Clerk of the Court constitutes making a proper appearance

in the courl

       The United States Marshal, or other authorized offi.cer, is hereby commanded to se1e a copyof

the above   Writ of Garnishment on the above-named Garnishee,         and make retum of this     Writ and.the
exeoution thereo{, according to law.

CONTACT THr' ATTORNEY T'OR TITE PLAINTIXT' F'OR THT', SOCIAL SECTJRITY
NTJMBER OR BUSIIYESS FEDERAL IDENTTXICATION NUMBERS OF THE
DEFENDANTS: GILBERT FONTENOT, pst) 44s-2083.

       Dated this   2ftI_   day   of   .Auguet _. 2014.
                                                 ..


                                                  CHARLES R. DIARD, JR.,
                                                  CLERK



                                                 DeputyClerk
